Oo CO ~ DH Ah Be | BD

So Ss DB Ww FF WY HY SY SF DO Fe SS DR A BSP WH we KK BS

Case 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.427 Page 1 of 26

Julio Mayen | MAR 1 2 2014
15335 Castle Peak Lane OL, Uae taaveaer Gotwy
Jamul, CA 91935 sour BR HHOY OF CALIFORNIA
619-669-9887 a & PRCUTY,
NUNC PRO FUNC
MAR 1 0 2014
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
JULIO MAYEN Case No. 13-cv-2080-MMA (BGS)
Plaintiff,
PLAINTIFF’S CORRECTED
VS. MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF
LAINITFF’S NOTICE OF MOTION
AND MOTION FOR
RECONSIDERATION PER FRCP 59(E)
BANK OF AMERICA, N.A.,, AND LOCAL RULE 7.1i
AND RECONTRUST
COMPANY, N.A. DEMAND FOR JURY TRIAL
Defendants,
Date: March 31, 2014
Time: 2:30 p.m.
Place: Courtroom 3A
Hon. Judge: Michael M. Anello

Page 1 of 26 Case No. 13-cv-2080-MMA

oOo SF SN DBD WH BP We Ne

NM NY MW NY NY NY NH DY SY Be Be Be eH Be Be Se eB ka
eS ~~ DH re SF WH NH Re CS CO fe SD DH A SF HH YH KS S&S

(Case 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.428 Page 2 of 26

TO THE HONORABLE COURT OF RECORD, DEFENDANT'S AND
THEIR ATTORNEYS OF RECORD:
1. Plaintiff, Julio Mayen, (plaintiff), hereby moves this court, under and
pursuant to F.R.Civ.P. 59(e) and L.Civ.R. 7.1(i), for reconsideration of the Court’s
ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS (Order) filed
on January 7, 2014 (Docket 16), that granted defendants’ motions to dismiss with

prejudice.

INTRODUCTORY STATEMENT

COURT’S ORDER TO DISMISS PLAINTIFF’S CASE FOR FDCPA
VIOLATIONS WITH PREJUDICE REFLECTS FUNDAMENTAL
MISAPPREHENSION OF CASE

2. Plaintiffs case is an action brought against Recontrust, Company, N.A.,
(hereafter: Recontrust) and Bank of America, N.A. (hereafter: BANA) for
violations of Fair Debt Collection Practices Act (hereafter: FDCPA or the Act), 95-
109; 91 Stat. 874, codified as 15 U.S.C. §1692.

3. Plaintiff recognizes that there is authority in case law that provides that
under certain set of facts a person, or a person which may be a Servicer of a
mortgage loan can be considered to be exempt for the definition of debt collector
as defined by FDCPA 15 USC §1692a, however, in this present case, Defendant:

BANA is not exempt by definition under the Act.

Page 2 of 26 Case No. 13-cy-2080-MMA

Oo & NSN DB wr Be WD NY eS

oO 4 DH UO SF YS YY KY CFS OBO CO HS OHO HW BP BH HK CS

Case 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.429 Page 3 of 26

4, Plaintiff further recognizes that there is authority in case law that provides
that under certain set of facts a person, or a person which may be a Trustee or
Substituted Trustee under a Deed of Trust can be considered to be exempt for the
definition of debt collector as defined by FDCPA 15 USC §1692a, however, in this
present case, Defendant: Recontrust is not exempt by definition under the Act.
Here’s why: First it must be noted that there is no evidence within the record of
this case that either Defendant is “the consumer’s creditors”, “‘a mortgage servicing
company” or “an assignee of a debt”. It is no more than a presumption, without
support of any factual evidence for either Defendant to be considered, as a matter
of law to be “the consumer’s creditors”, or “a mortgage servicing company”, or
“an assignee of a debt”. Such fact would have to be determined to be so after an
evidentiary hearing, where such evidence must be admitted into evidence
according to the Federal Rules of Evidence.
5. The court in its Order (Doc 16 pg 4:11-15) indicated that the Court has
determined that Plaintiff's case against the Defendants must be dismissed with
prejudice for the reasons, as the Court writes:

“This Court and others “consistently have found that nonjudicial

foreclosure is not debt collection because ‘a debt collector does not

include the consumer’s creditors, a mortgage servicing company, or

an assignee of a debt, as long as the debt was not in default at the
time it was assigned.’””

The last phrase in the above quote is critical to this reconsideration as it is key to

Page 3 of 26 Case No. 13-cv-2080-MMA

oO oO “SO GS

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.430 Page 4 of 26

Defendants’ motion in chief as revealed herein.
6. On page 5 beginning at line 4 down to line 9 thereafter the Order continues,
however, with an assertion that reflects a fundamental misapprehension of
plaintiff’s case regarding status of named defendants’. The decision states:
“Neither defendant in this case qualifies as a “debt collector” within
the meaning of the FDCPA. Nor do the nonjudicial foreclosure
proceedings against Plaintiff's property fall within the FDCPA’s
meaning of “debt collection.” Accordingly, Plaintiff cannot state a
claim under the FDCPA against Defendants as a matter of law.
Plaintiff's FDCPA claims are therefore subject to dismissal with
prejudice.”
7. It is claimed by Defendants’ counsel Ms. Farrell (Doc 6, Pg 3: 19-23), that
located in local county of San Diego public records: Assignment of Deed of Trust
(Defendants’ RJN Exhibit B, Doc 7-1, Pgs 28-29), that Plaintiff's alleged loan
documents are in said trust.
8. They claim that Beneficiary of said Trust has substituted Recontrust for
original Trustee of alleged Deed of Trust (Defendants’ RJN Exhibit A, Doc 7-1,
Pgs 2-26) and is therefore now substituted trustee under said alleged Deed of Trust.
However, located in the Pooling and Servicing Agreement (hereinafter P& SA) and
the CWMBS, Inc., — 424B5 — P&SA Trust Prospectus Supplement (hereinafter

424B5 Prospectus) for such Trust, it is revealed that the Master Servicer under said

Trust is: Countrywide Home Loans Servicing, LP, (hereinafter CWHLS, LP).

Page 4 of 26 Case No. 13-cy-2080-MMA

Oo FC ~F GC wm BP W BI —

NM ro NO BO BK KN DD DD BD mmm meee
oo nN DH OO FP WY NH K§ OF CO SH SN DW A FF WH NH KH

Case 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.431 Page 5 of 26

9. The Court can see from the Security Exchange Commission (hereinafter
SEC) website showing the public records that the named entity that is listed as the
Master Servicer under the P&SA associated with Defendants’ Exhibit B is
CWHLS, LP as of January 30, 2005. Exhibit 1 & 2 and judicially notice by
Plaintiff, the website links as follows:

Exhibit 1

Attp.://edgar.sec.gov/Archives/edgar/data/9064 10/000095012905 00080204
62004 24b5. txt

CWMBS, Inc. — 424B5 — P&SA Trust Prospectus Supplement

(Pages: 1, 7 & 84)

Exhibit 2

http://www.secinfo.com/drjtj.z2C3.d.htm#3to

CWMBS, Inc — 8K For 1-30-2005 EX-99.1

CHL MORTGAGE PASS-THROUGH TRUST 2005-7
MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-7
Pooling and Servicing Agreement

(pg 6: par 1, pg 11: par 1, pg 43: sentence 3)

Further, the Federal Reserve System’s repository of data compiled by its
NATIONAL INFORMATION CENTER, (hereafter: NIC) where link repository

provides at its website link. Exhibit 3 and judicially notice by Plaintiff, the
website links as follows:

http://www ffiec.gov/nicpubweb/nicweb/InstitutionHistory.aspx? parID RSS
D=3035311&parDT_END=201 10630

The Federal Reserve Systems NIC site link above shows that the Master Servicer

was renamed on April 27, 2009 when the official name of said entity became: BAC

Page 5 of 26 Case No. 13-cv-2080-MMA

(ase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.432 Page 6 of 26

Home Loans Servicing, LP. The above website is common knowledge of those
in the industry.
10. Recontrust over three years later caused to be filed for record in the office of
the County Recorder’s of San Diego County on March 20, 2012 a document titled:
NOTICE OF DEFAULT AND ELECTION TO SELL UNDER DEED OF
TRUST (hereinafter NOD). The Court has taken judicial notice of this document
at the request of Defendants, identified as Defendants’ Exhibit D, (Doc 7-1, pgs
33-36). The foregoing fact is evident because the Court states in its Order (Doc 16
pg 3:6-10) filed on January 7, 2014:
“The Court has examined each of the exhibits for which Defendants
request judicial notice and finds that each exhibit is suitable for
judicial notice as a matter of public record whose accuracy is not

reasonably in question. See Fed. R. Evid. 201(b). The Court_takes
judicial notice of the existence and legal effect of the documents.”

In light of the foregoing, please be advised that in Defendants’ Exhibit D which
Ms. Farrell identifies as page 33 in her request for Judicial Notice (Doc 7), at the
second from the last sentence from the bottom of the second page of four pages of
NOD’s filing the Court can see that such sentence reads:

“That a breach of, and default in, the obligations for which such
Deed of Trust is security has occurred in that payment has not
been made of: FAILURE TO PAY THE INSTALLMENT OF
PRINCIPAL AND INTEREST WHICH BECAME DUE ON
03/01/2009 AND ALL SUBSEQUESNT INSTALLMENTS OF
PRINCIPAL AND INTEREST, TOGETHER WITH ALL LATE
CHARGES; PLUS ADVANCES MADE AND COSTS

Page 6 of 26 Case No. 13-cv-2080-MMA

Case 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.433 Page 7 of 26

INCURRED BY THE BENEFICIARY INCLUDING
FORECLOSURE FEES AND COSTS AND/OR ATTORNEYS
FEES. IN ADDITION, THE ENTIRE PRINCIPAL AMOUNT
WILL BECOME DUE ON 01/01/2035 AS A RESULT OF THE
MATURITY OF THE OBLIGATION ON THAT DATE.”
11. Therein said NOD [Defendants’ Exhibit D] instrument recorded of public
record for all the world to see, it is claimed by Recontrust that the date of the
alleged default (hereafter: DEFAULT DATE) for: FAILURE TO PAY under
alleged obligation to pay for the benefit of alleged Beneficiary Trust wherein The
Bank of New York Mellon is allegedly claimed Trustee under the alleged

assignment of Deed of Trust was March 1, 2009. It must also be noted that the

courts order again reflects a fundamental misapprehension of Plaintiff's case
regarding what the Plaintiff actually stated in Plaintiffs pleading versus what the
court interpreted in its Order (Doc 16 pg 2: 15-16) which states:

“Plaintiff argues that although the documents have been duly
recorded, their content and accuracy are subject to dispute.”

Here a review of the Plaintiff's Motion to Strike (Doc # 10) shows the Order’s
(Doc 16) sentence quoted above is factually incorrect. Plaintiff never argues
“ ,.that although documents have been duly recorded, their content and accuracy
are subject to dispute.” The truth is the opposite; Plaintiff asserts that Defendants’

Judicially Noticed documents Exhibit A, B, C, D and E are not duly recorded.

Page 7 of 26 Case No, 13-cy-2080-MMA

Oo CoO ~) HR aA Bp WwW KR —

Bo Bp BH BD BO BD ORD OB OD mma eee ee
ao nN DA Ww SF WY HN KH DOD Oo So HN KO NN BP OH UL lUlUmrE UD

(ase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.434 Page 8 of 26

12. On the alleged DEFAULT DATE, March 1, 2009, said Trust’s named
Master Servicer was CWHLS, LP, at least we have no evidence that the Master
Servicer was changed prior to or on the date of alleged Default naming Defendant
BANA or for that matter anyone else Master Servicer or Loan Servicer. If such is
the case, then how can the court do so? Further on June 13, 2011 over two years
after the March 1, 2009 alleged default had occurred, an Assignment of Deed of
Trust [Defendants’ Exhibit B} (Doc 7-1 pg 28) of Defendants’ Request of
Judicial Notice (DRJN) (Doc 7) was recorded in the office of the County Recorder
of San Diego County assigning The Bank of New York Mellon (alleging to be)
FKA THE BANK OF NEW YORK , AS TRUSTEE OF THE CERTIFICATE
HOLDERS OF CWMBS, INC., CHL MORTGAGE PASS-THROUGH
TRUST 2005-7, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2005-7 all beneficial interest in that certain alleged deed of trust.

13. Bearing in mind the foregoing, it is clear that the State of New York trust
laws and the governing P&SA typically prohibits a trust from purchasing an asset
currently in default. In this case for over two (2) years after the alleged default and
almost (6-1/2) years after the closing and cutoff date for such an assignment as
established by the P&SA of said trust! A legal impossibility that renders the
Assignment of Deed of Trust Ineffective and Void in this case. See Glaski v Bank

of America, N.A. Cal. Ct App 5” Dist. Particularly so given the further fact that

Page 8 of 26 Case No. 13-cv-2080-MMA

OC fo ~~ DR we FB WH PP

NB BR Bw BR ND BD OND OR OD mm ies
ao ss DH HO SFP WY HP K§ OD OBO se SN DH Te BR WH NH KS CC

frase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.435 Page 9 of 26

said trust had three (3) years prior to said alleged default executed a Form 15D
with the Security Exchange Commission on January 20, 2006 which is a
certification of termination of registration with the SEC. See copy of Form 15D
attached herein as Plaintiff's Exhibit 4 and judicially noticed by Plaintiff, the
website links follows:

http-://edgar.sec.gov/Archives/edgar/data/ 13 16264/0000905 1 4806000

S63/efc6-0074_ 5816196form15 15d. txt

14. Furthermore over_three years passed after said March 1, 2009 alleged

default had occurred, then on March 20, 2012, enters named defendant Recontrust
into this picture by way of a recorded Substitution of Trustee instrument
identified as recording Doc. # 2012-0159978 naming Recontrust as the new trustee
identified in DRJN (Doc 7) as Defendants’ Exhibit C (Doc 7-1, pg 31) upon
which this honorable court has previously taken judicial notice of. To do so three
years after said ALLEGED DEFAULT DATE has been set, the only thing all these
Johnny comes lately can ever hope to be by statutory definition are DEBT

COLLECTORS surreptitiously posing as creditor, lender, loan servicer, etc., in

violation of Title 15 U.S.C. 1692 (e), (11), (14). To be honest it does appear that a
litany of robo-signed documents are being employed by Ms. Farrell who obviously
has done no vetting of the veracity of any of her documents filed in support of her

motion which is indicative of a lack of good faith and further points to her apparent

Page 9 of 26 Case No. 13-ev-2080-MMA

[Fase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.436 Page 10 of 26

premeditated violation of FRCP Rules 11, 65(h), Title 15 U.S.C. 45 et seq., Title
18 U.S.C. 1341, 1346 as well as California Business & Profession Code 6068(d),
Penal Code 134, ethical duties of attorney among other high crimes and
misdemeanors to be more fully detailed herein.
15. Given the fact that the court has taken judicial notice of the foregoing
exhibits filed of record by Ms. Farrell, it is clear that the court has further not really
paid attention to the actual content of what was contained on the face of each
judicially noticed document for if the court had, 1t could not in all good conscience
have granted Defendants’ motion to dismiss in general and certainly not have
granted said dismissal with prejudice, for to do so would constitute an egregious
miscarriage of justice by willful violation of well settled law. Wise v. Wells Fargo
Bank, N.A., 850 F.Supp.2d 1047, 1053 (C.D. Cal. 2012)
16. Accordingly, therefore, the Order (Doc 16, pg 5: 7-9) does not show how
the conclusion —

“Accordingly, Plaintiff cannot state a claim under the FDCPA

against Defendants’ as a matter of law. Plaintiff’s FDCPA claims

are therefore subject to dismissal with prejudice”
— could possibly have been reached absent a complete dereliction of duty on part
of the court to properly vet the records and documents entered into the case that

were relied upon for its order in spite of its written claim, (Doc 16, pg 3: 6-8):

“The Court has examined each of the exhibits for which Defendants’
request judicial notice and finds that each exhibit is suitable for

Page 10 of 26 Case No. 13-cv-2080-MMA

C@iase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.437 Page 11 of 26

judicial notice as a matter of public record whose accuracy is not
reasonably in question.”

There can be no other reason or basis as the court’s own standard,
(Doc 16, pg 4: 12-14):
“a debt collector does not include the consumer's creditors, a

mortgage servicing company, or an assignee of a debt, as long as the
debt was not in default at the time it was assigned“

is a standard that is binding upon this honorable court. Wise v. Wells Fargo Bank,
N.A., 850 F.Supp.2d 1047, 1053 (C.D. Cal. 2012)

17. In good faith Plaintiff is persuaded to believe that Plaintiff has met the
burden to establish that the court’s own standard herein cited has been met proving
that Defendant BANA is a debt collector and became the purported loan servicer,
after the March 1, 2009 alleged default, if it ever became a loan servicer which
Plaintiff seriously doubts based upon its own letters mailed to Plaintiff infra.

18. What is patently obvious is that a candid world making an inquiry
reasonable under the circumstances of the foregoing law, facts and evidence would
conclude the same as Plaintiff has. In fact, Defendants’ own Exhibit E (Doc 7.1,
pgs 38-39) and Defendant BANA’s (6) six letters to Plaintiff identified herein as
Plaintiff's Exhibits 5-10 impeach both Defendants’ counsel’s alleged claims and
the courts findings of fact and conclusions of law in its order dismissing Plaintiff's
complaint with prejudice as a matter of law. As such, it is now the sworn duty of

this court to declare that the foregoing is true, correct and just and that such is the

Page 11 of 26 Case No. 13-ev-2080-MMA

oO CO sO DB CH BB WH BR oe

BO NO BR BRD ND BD OND ODD ORDO mee
eo s TH we FSF WwW NB —&§ CDS BO Se SH OH SB WY WH YH S&S

¢

ase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.438 Page 12 of 26

case for this instant action.

PLAINTIFF NOW ADDRESSES MS, FARRELL’S MOTION TO DISMISS
AND HER INTENT BEHIND DRAFTING SUCH:
19, Defendants’ MOTION TO DISMISS (Doc 6) shows that it is signed by

attorney: Elizabeth C. Farrell, SBN 280056 on October 28, 2013. By signing said
motion to dismiss, Ms. Farrell is subject to Federal Rules of Civil Procedure Rule
11, where Ms. Farrell is deemed to have certified to her pleading.

20. Rule 11 requires among other things, that Ms, Ferrell by presenting to the
Court her pleadings: Motion to Dismiss that to the best of her knowledge,
information, and belief, formed after an inquiry reasonable under the
circumstances (here quoting from the Federal Rule):

(1) it is not being presented for any improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the cost of
litigation;

(2) the claims, defenses, and other legal contentions are warranted
by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law or for establishing new law;
(3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after
a reasonable opportunity for further investigation or discovery;
and

(4) the denials of factual contentions are warranted on the
evidence or, if specifically so identified, are reasonably based on
belief or a lack of information.

21. At Page 3 of said Motion’s Memorandum of Points and Authorities at line
10, Ms. Farrell writes the following:

Page 12 of 26 Case No, 13-cv-2080-MMA

fase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.439 Page 13 of 26

“As shown in detail below, Defendants’ request for dismissal of each
Complaint claim alleged is warranted, since all of the claims fail to
state a plausible claim for relief.”

Based upon what Ms. Farrell has written in her Motion to Dismiss Plaintiff
believes that the above statement cannot be fully true or is at least not warranted to
the extent that her Motion to Dismiss merits a ruling from the court that Plaintiff's
Complaint be dismissed with prejudice. Plaintiff believes that Ms. Farrell is in
violation of Rule 11 because she writes the following (Doc 6 pg 8:2-5):
“Nor does he allege that Defendants used unfair or unconscionable
means to collect a debt. Instead, the gravamen of this claim is that
Defendants have not proven the Plaintiff owes a debt and threatened
“non-judicial [foreclosure] action”
This statement of Ms. Farrell is untrue. The Truth is that Plaintiff has alleged that
Defendants have used unfair and unconscionable means to collect a debt, for
example see: Plaintiffs Complaint pg 12:24-28 thru pg 13:1. Where Plaintiff states:
“Plaintiff hereby complains and alleges that the Defendants did
violate the Fair Debt Collection Practices Act, 15 USC. §$-
1692(e)(2), 15 USC. § 1692(e)(5), 15 USC. § 1692(e)(10), 15
U.S.C. § 1692(f) (6) by providing false and misleading information by
mailing a demand letters to the Plaintiff which asked for a lump sum

of money.”

Here Plaintiff refers to debt collector demand letters which were received through
use of the mails. (See Plaintiff's Exhibits 5-10),

22. Plaintiff's Complaint alleges 7 additional violations by Defendants on page

13:2-27. Plaintiffs Complaint pg 14:4 alleges that Defendants have violated 15

Page 13 of 26 Case No. 13-cv-2080-MMA

o &*S SN DB Ww BR WY NH

Be Bb bo BO BO BO BRD RD ORD Om mm i et
So “ss A tA SF WY NB KE ODO OO OULU UU Ul UN GULUmrR ll

(rase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.440 Page 14 of 26

U.S.C. § 1692(g) by failing to follow up after their first contact they made to
Plaintiff within the required time as is required by that section. In fact Defendants
never have sent the required 15 U.S.C. § 1692(g) validation letter to Plaintiff, nor
have they responded to Plaintiff's notice that he denies any debt that they claim he
owes.

23. Defendants’ Motion to Dismiss (Doc 6 pg 8:21-22) Ms. Farrell states:

“And Plaintiff fails to prove that Defendants are ‘debt collectors.’ For
these reasons, Defendants’ motion to dismiss should be granted.”

Plaintiff was under the impression that the time to prove that Defendants are
indeed “debt collectors” as that term is defined by 15 U.S.C. § 1692 was not in
Plaintiff's Complaint per 15 U.S.C. § 1692et seq., but at a later part of the actions
process.

24. Plaintiff believes that with the information that he now has recently acquired
from the official public records of the Federal Reserve System’s NIC and from the
SEC he will be able to obtain certified copies of same from these agencies that will
be admissible by the Court that will indeed prove that BANA could not have been
a servicer of the Trust which they all claim is the Trust which holds the alleged
Note and alleged Deed of Trust and is the alleged Beneficiary of their alleged
claim.

25. But, the Defendants have always known that they are debt collectors under

the Act’s definition of that term and that they are indeed subject to the Act in this

Page 14 of 26 Case No, 13-cy-2080-MMA

co FS SN DO OO FP WY NL Re

Be BM BN NO ND ORD ORD OND ORD Oem a
oo ss DS UO SFP BHO NY KF SDS BO ee HON OLUUlULUhL ULL hl

fase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.441 Page 15 of 26

matter. No greater proof is needed than Defendant Recontrust’s own Exhibit E
(Doc 7.1, pgs 38-39) which clearly states:

“RECONTRUST COMPANY, N.A. is a debt collector attempting to
collect a debt. Any information obtained will be used for that
purpose.”

and the six (6) letters mailed to Plaintiff through the U.S. Mail Service by said
Defendant BANA which open and notoriously state the following on each letter:
“This communication is from Bank of America, N.A., the servicer of

your home loan. Bank of America, NA is required by law to inform
you that this communication is from a debt collector”

A copy of each letter is attached herein as Exhibits 5-10 for the court’s
consideration.

26. In light of the foregoing, was it not the mandated duty of Ms. Farrell to
‘know that her alleged clients, Defendants: BANA and Recontrust are debt
collectors under the Act? If not, then why not? Plaintiff is persuaded to believe
that Ms. Farrell in point of fact did know this. No doubt this is why she has
worked so hard to take all eyes off the fact that Plaintiff's Complaint is about
FDCPA violations and not about a discontented or disillusioned debtor of some
sort of alleged loan and/ or that Plaintiff is just trying to use this FDCPA
Complaint to stall a foreclosure.

27. There is no foreclosure. The public policy does not and cannot recognize

that any foreclosure has been initiated by the Defendants and Ms. Farrell should

Page 15 of 26 Case No. 13-cv-2080-MMA

DP co WY OA A BB WwW LH

NM BHM WN NR BR ND RO ORDO me mee
oo ss WO A Se YW BK ODO (OUlUlUOOULULUl UNUlUlUR ULL OUUmre hl lU

C@iase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.442 Page 16 of 26

stop trying to edit and reframe and thereby misrepresent Plaintiff's Complaint to
her own ends and for her own and the Defendants’ benefit. Title 12 CFR 226.39
agrees with Plaintiff regarding a loan servicer has no power to initiate a
foreclosure.

28. Ms. Farrell in her motion (Doc 6) continues to resort to her favorite ploy,
that is her obsession with some non-existent foreclosure. (Doc 6 pg 8:8-9)

“Second, this claim fails to the extent it relates to the foreclosure
because FDCPA does not apply to foreclosure activity.”

Plaintiff again answers Ms. Farrell’s above statement by saying that there is no
extent that Plaintiff's claim relates to “any foreclosure.”

29. Further, Defendants’ request for dismissal of said Complaint does not seek
that such dismissal be granted with prejudice. Plaintiff is shocked by the Court’s
decision which not only shuts off any opportunity to amend any insufficiency in
Plaintiff's Complaint but which dismisses his Complaint out of hand without leave
to amend, ie., where Plaintiff's Complaint has been dismissed with prejudice by
the Court. Haines v. Kerner, 404 U.S. 519 (1972)

30. In the interest of justice, Plaintiff motions this Court to reconsider its Order
to Dismiss Plaintiff's Complaint with prejudice, and that the Court instead order
that Plaintiff be given the opportunity to either amend his Complaint where it may

be insufficient, or, allow Plaintiff to file a different more sufficient Complaint

Page 16 of 26 Case No. 13-cv-2080-MMA

oo SS SO AH BP BR Le

BR NH NO ND BD BRO OR OO mw mse
eo SN A ww SFP WY NH K§ 9D 6S Se | HRN tr OU BRUlhwhULULULNDULUmr LLU

tase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.443 Page 17 of 26

against Defendants’ for violations of FAIR DEBT COLLECTION PRACTICES
ACT against Defendants: Recontrust Company, N.A., and BANA, in the future.

31. Plaintiff believes that the Court in its: decision to dismiss Plaintiff's
Complaint with prejudice has been influenced by certain allegations made by
attorney for Defendants: Ms. Farrell in her Motion to Dismiss and_ its
Memorandum of Points and Authorities (Doc 6).

32. Plaintiff believes that some of the writings that Ms. Farrell has made in her
Motion to Dismiss (Doc 6) Plaintiff's Complaint and its Memorandum of Points
and Authorities are false and/ or cause the reader to believe that the debt collection
activities in which Defendants have engaged are exempt from falling under the
FDCPA. Plaintiff is persuaded to believe based upon Plaintiff's personal
knowledge and belief as Plaintiff was prior informed and is now further informed,
that Ms. Farrell’s Motion to Dismiss does not warrant a decision from the Court
that Plaintiff's Complaint be dismissed, especially not with prejudice.

33. The Court in its order to dismiss Plaintiff's Complaint with prejudice states
on page | of such order at line 22 the following:

Plaintiff disputes Defendants’ authority to initiate and pursue
foreclosure proceedings against the subject property.

There is nowhere in Plaintiffs complaint where it states that Plaintiff disputes
Defendants’ authority to initiate and pursue foreclosure proceedings, and one

wonders how the Court would come to believe the Plaintiff has so disputed. Could

Page 17 of 26 Case No. 13-cv-2080-MMA

oOo Fe SI DH Ww BP WY HS

tO ho bo ht No No ho bo tO _ ho — e —_ —_ — — oS
oO ~~] nN OF S&S WwW Bo he OD ao ss KH tw bh WwW NY =} S

Hase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.444 Page 18 of 26

it be that the Court has been influenced by what is cast by Ms. Farrell in her
motion’s writings (Doc 6 pg 6:18-21) where Ms. Farrell states:
“Reading the Complaint as a whole, it appears this cause of action of
action relates to the foreclosure proceedings initiated against the
Property and Plaintiffs conclusion that Defendants have no authority
to foreclose.
34. It may seem Plaintiff is picking on Ms. Farrell in excess, but the problem
lies as much with her as with her alleged clients, Defendants BANA and its cohorts
Recontrust who are in fact debt collectors under the FDCPA and therefore subject
thereto and as debt collectors have employed means, methods, practices and tactics
which are indeed considered unfair pursuant to said Act as well as Title 15 U.S.C.

45 which Congress declares at (a) (1): unfair or deceptive acts or practices in or

affecting commerce, are hereby declared unlawful.

35. In order to get the heat off of her clients Ms. Farrell would need to get the
Court to believe that there has been a foreclosure initiated as a matter of law and at
the same time get the court to believe that BANA purporting to be a loan servicer
is excluded from the Act. Ms. Farrell would need to cause the Court to believe that
the Defendants were engaged in foreclosure activities. She would need to cause the
court to believe wrongly that the Defendants were not debt collectors under the
Act, even that both she and her Defendants have known all along that they could
not have acquired any interest that they may actually have, until years after the

alleged DEFAULT DATE, because the Master Servicer was from the beginning of

Page 18 of 26 Case No. 13-cv-2080-MMA

Oo oo ~JI PW jo Bp WH WO —

oo ~s WN WO SF WY YN KF DS CO BH ws DH HB OU OULULULDUmrRhlUD

fase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.445 Page 19 of 26

the REMIC TRUST, and during time of filing of Form 15D, through years beyond
said alleged DEFAULT DATE, was CWHLS, LP., not BANA, Recontrust or any
other entity.

Ms. Farrell attempts her coup de gras where she writes (Doc 6 pg 6:25-26):

“A threshold Plaintiff cannot overcome is that the FDCPA does not
apply to foreclosure activities.”

36. Here, Ms. Farrell advocates from her false premise, that there is a threshold
that Plaintiff just can’t overcome. If we were stuck with false facts as Ms. Farrell
and her Defendants would no doubt desire, it would possibly be true that there
could be such a threshold but such is not the case. This is purely evil for her to do
such a thing!

37. The facts truly are that BANA, is a debt collector under the Act because it
was not a Servicer under the REMIC TRUST leading up to the time of the alleged
debt default on March 1, 2009 and if it ever did obtain contractual rights to be the
Master Servicer of that P&SA, it could not have done so for years after the alleged
debt default of March 1, 2009. In fact as pointed out before the Form 15D
terminated said REMIC business activity with the SEC for all intents and purposes.
Now that seems like a threshold Defendants cannot overcome. It may be a big
problem.

38. Under the foregoing circumstances it might seem of great interest to find a

way to suppress a Complaint such as the one in the instant case. Plaintiff may be a

Page 19 of 26 Case No. 13-cv-2080-MMA

Oo 8 “NR tr BR BY BY =

MP NM NN NY BD KB wD Be em em ee ee me ue
sc 1 KR A BY) NY S&F SF 6 wm TU AAW BB BO BP | Ss

=,

fase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.446 Page 20 of 26

novice to the courts and its legal system and maybe untrained in such ways. As
such, Plaintiff realized that there may be many needed improvements to Plaintiffs
Complaint. But Plaintiff is capable of learning how to do what needs to be done in
order to produce a proper pleading. Furthermore, Plaintiff knows the difference
between a lie and the truth, or is the proper term misrepresentation?
FORMAL NOTICE AND COMPLAINT OF PROFESSIONAL
MISCONDUCT AND UNFAIR BUSINESS PRACTICE AND TACTICS

EMPLOYED BY Ms. ELIZABETH C. FARRELL, SBN 280056 IN
VIOLATION OF FRCP-RULES 11 AND 56(h)

39. Plaintiff is disappointed to see that a promising young attorney with so much
apparent potential would resort to such “dolus malus” tactics to obtain a favorable
outcome for her and the Defendants. For Plaintiff in good faith emailed and later
mailed a hard copy of the attached letter [Plaintiff's Exhibit 11] with Plaintiff's
Exhibits 5-10 to Ms. Farrell in order to provide Ms. Farrell with the time and
opportunity to correct the record if you will regarding her claims and assertions
presented to the court under the mandate of FRCP Rule 11 in light of Rule 56(h)
and thereby move the court to vacate said Order. I am sad to report that I neither
received any written, oral or other communications from Ms. Farrell which
necessitated the filing of the instant pleadings in this court.

40. It had been hoped by Plaintiff to resolve the glaring issues of law that were

being abused and outright violated prior to controversy which Plaintiff had hoped

Page 20 of 26 Case No. 13-cv-2080-MMA

oO 6S NSN DH WT Re WY Ne

BS NM NO NY KO ND RD RD ROO wm imme me meee
eo s) DH A SP HO NB S| OoOUlUlUCCOCOUlUMCULUNLLUlUCUMN UL rlCCUCLBA Oe NH tC

Nase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.447 Page 21 of 26

were an oversight, mistake or without full knowledge. But time and experience
has taught Plaintiff that if someone is intent on wrongdoing no matter how many
opportunities or changes to make amends are afforded, a corrupt mind is simply
not interested and will attempt to pull off the plot regardless of being exposed of
the same.

41. As such, Plaintiff hereby makes formal notice to the court of what can only
be described as criminal conduct and moral turpitude demonstrated in the
paperwork, attitude, posture and behavior of one opposing counsel Ms. Elizabeth
C. Farrell, SBN 280056. The foregoing is condemned by her own RULES OF
PROFESSIONAL CONDUCT:

Rule 3-200 Prohibited Objectives of Employment

A member shall not seek, accept, or continue employment if the
member knows or should know that the objective of such employment
is:

(A) To bring an action, conduct a defense, assert a position in
litigation, or take an appeal, without probable cause and for the
purpose of harassing or maliciously injuring any person; or

(B) To present a claim or defense _in litigation that_is_not
warranted under existing law, unless it can be supported by a good
faith argument for an extension, modification, or reversal of such
existing law.

42. In light of the foregoing, I am prepared at this time to make formal request
to the ethics committee of the California State Bar to complain of the unfair
business practices and tactics employed by Ms. Farrell which has resulted in

multiple felony violations, ethical violations, fraud on the court, mail fraud, denial

Page 21 of 26 Case No. 13-ev-2080-MMA

oO Se SN DH A FE WY Ne

Bo BO BD NRO RD RD RD Ree
So ~~ Ww wm & Ww HNO FH DB BO CS SI BD A BP WH PP KF 2

fase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.448 Page 22 of 26

of intangible right to honest services all of which has resulted in the premeditated
denial of one’s right to inherent due process of law that may have been aided and.
abetted by the court given the past history of Ms. Farrell who’s own resume as
touted on the web page of the company that she is associated with that in point of
fact Ms. Farrell was an “extern” of the Honorable Michael M. Anello, U.S. District
Court for the Southern District of California. (Exhibit 12)

43. Now if the foregoing facts are true, then according to Judicial Canons of
Ethics any Judge that may have a conflict of interest is required to disclose such
conflict.

CANON 2: A JUDGE SHOULD AVOID IMPROPRIETY AND THE

APPEARANCE OF IMPROPRIETY IN ALL ACTIVITIES

(A) Respect for Law. A judge should respect and comply with the
law and should act at all times in a manner that promotes public
confidence in the integrity and impartiality of the judiciary.

COMMENTARY

Canon 2A. An appearance of impropriety occurs when reasonable
minds, with knowledge of all the relevant circumstances disclosed by a
reasonable inquiry, would conclude that the judge’s honesty, integrity,
impartiality, temperament, or fitness to serve as a judge is impaired.
Public confidence in the judiciary is eroded by irresponsible or improper
conduct by judges. A judge must avoid all impropriety and appearance of
impropriety. This prohibition applies to both professional and personal
conduct. A judge must expect to be the subject of constant public scrutiny
and accept freely and willingly restrictions that might be viewed as
burdensome by the ordinary citizen. Because it is not practicable to list all
prohibited acts, the prohibition is necessarily cast in general terms that
extend to conduct by judges that is harmful although not specifically

Page 22 of 26 Case No. 13-cv-2080-MMA

¢

se 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.449 Page 23 of 26

mentioned in the Code. Actual improprieties under this standard include
violations of law, court rules, or other specific provisions of this Code.

Further,

CANON 3: A JUDGE SHOULD PERFORM THE DUTIES OF THE
OFFICE FAIRLY, IMPARTIALLY AND DILIGENTLY

The duties of judicial office take precedence over all other activities. In performing
the duties prescribed by law, the judge should adhere to the following standards:
(A) Adjudicative Responsibilities.
(1) A judge should be faithful to, and maintain professional competence in,

the law and should not be swayed by partisan interests, public clamor, or fear of

criticism.

(C) Disqualification.
(1) A judge shall disqualify himself or herself in a proceeding in which
the
judge’s impartiality might reasonably be questioned, including but not
limited to instances in which:

1, (a)the judge has a personal bias or prejudice concerning a party,

or_personal knowledge of disputed evidentiary facts concerning
the proceeding;

2. (b)the judge served as a lawyer in the matter in controversy, or a
lawyer with whom the judge previously practiced law served during
such association as a lawyer concerning the matter, or the judge or
lawyer has been a material witness;

3. (c)the judge knows that the judge, individually or as a fiduciary, or the
judge’s spouse or minor child residing in the judge’s household, has a
financial interest in the subject matter in controversy or in a party to
the proceeding, or any other interest that could be affected
substantially by the outcome of the proceeding;

Page 23 of 26 Case No. 13-cv-2080-MMA

oO 32 “SS DB tre FF WwW BH

NO Me NHN NM NR NR BD BND OR ea ae
eS 4 HA wo FE WY WY S| CSF SO Se YN DT A UU SelUlhHULULDN Ue hlUD

tase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.450 Page 24 of 26

4, (d)the judge or the judge’s spouse, or a person related to either within
the third degree of relationship, or the spouse of such a person is:

1. (i) a party to the proceeding, or an officer, director, or trustee of
a party;

2. (ii) acting as a lawyer in the proceeding;

3. (iii) known by the judge to have an interest that could be
substantially affected by the outcome of the proceeding; or

4. (iv) to the judge’s knowledge likely to be a material witness in
the proceeding;

5. (e) the judge has served in governmental employment and in that
capacity participated as a judge (in a previous judicial position),
counsel, advisor, or material witness concerning the proceeding or has
expressed an opinion concerning the merits of the particular case in
controversy.

2, (2) A judge should keep informed about the judge’s personal and fiduciary
financial interests and make a reasonable effort to keep informed about the
personal financial interests of the judge’s spouse and minor children residing
in the judge’s household.

44. Now, if said judge is conflicted with any of the above issues of the Canons,
he knew or should have known to step down off the case. Clearly something is
amiss given his severe ruling [Order] that is not supported by the law, facts,
evidence submitted by Ms. Farrell [Defendant’s Exhibit E, (Doc 7.1, pgs 38-39)|
and BANA [Plaintiff's Exhibits 5-10] or even the request for relief from opposing
counsel. Clearly there appears to be a bias in his heart and under such
circumstances he should in all good conscience have recused himself as a matter of

law.

Page 24 of 26 Case No. 13-cv-2080-MMA

(ase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.451 Page 25 of 26

45, Further it is hoped that with the newly obtained access to official public
records of the Federal Reserve and of the SEC, the court will reconsider and allow
Plaintiffs case to proceed or at the very least dismiss the case without prejudice.
46. Plaintiff request that the honorable court consider the substance of Plaintiff's
motion over the incompetent form of same per Haines v. Kerner 404 U.S. 519,
which states that courts must not hold pro se litigants to the same standards as a
lawyer of the bar regarding procedure, etc. Plaintiff further reserves the right to
amend this motion.
CONCLUSION

Notice of Default and Election to Sell Under Deed of Trust states that
the date when payment was due under the alleged Deed of Trust was
03/01/2009. There is no evidence that on that date any other than CWHLS, LP,
later named: BAC Home Loans Servicing LP was Master Servicer of said P&SA
which is the creating document of the Trust for which The Bank of New York
Mellon FKA Bank of New York as alleged Trustee of said trust. For that reason, if
BANA had or has any interest in the collection of any alleged debt in connection to
any obligation which is secured by alleged subject Deed of Trust such interest is
not and cannot be a Servicer of said alleged Obligation and alleged Deed of Trust.

BANA, could only be engaged in the role of a debt collector as that term is

Page 25 of 26 Case No. 13-cv-2080-MMA

Oo © YD) HR nm BP WH KR —

BS Sb NM Bo OND BRD OND ORD Om wm et
oo 4 DS UO SF OY UN KEK lUlUDOlUlUCNCOCOUUUClUCUCOCOULLUMGO OT ROW ir ll

(ase 3:13-cv-02080-MMA-BGS Document 21 Filed 03/11/14 PagelD.452 Page 26 of 26

provided in Title 15 U.S.C.1692(h)(6) and as reflected in its own letters mailed
to Plaintiff supra.

CWHLS, LP, later named: BAC Home Loans Servicing LP was the Master
Servicer at the time at which the alleged Default occurred according to the records
found in the public records which have been granted judicial notice of this
Honorable Court and no other name has been judicially noticed by this honorable
court as Master Servicer or even loan servicer.

As such, Plaintiff request that this honorable court does the right thing and

set aside its Order to Dismiss Complaint with prejudice that Plaintiff may pursue

Plaintiff's inherent right to the due processes of the law of American
Jurisprudence.
Date: February 4, 2014 Respeottully Submitted,

Tali) Mayen

Page 26 of 26 Case No. 13-cv-2080-MMA

